ee WwW

oOo sD ON

\o

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Gregg S. Kleiner, State Bar No. 141311
RINCON LAW LLP

268 Bush Street, Suite 3335

San Francisco, California 94104
Telephone No.: 415-672-5991
Facsimile No.: 415-680-1712

Email: gkleiner@rinconlawllp.com

Proposed Counsel for KARI BOWYER,
Trustee in Bankruptcy

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

In re

TSVETAN STEVEN IVANOV TORBOV
aka STEVEN TORBOV,

Debtor.

 

 

 

Kari Bowyer, Trustee in Bankruptcy of the estate of the above-named Debtor ("Applicant"

or "Trustee"), respectfully represents:

l, Applicant is the duly appointed, qualified and acting trustee in bankruptcy in this

case.

2. Pursuant to 11 U.S.C. Section 327(a), Applicant desires to retain Rincon Law LLP

("Proposed Counsel" or "Rincon Law"), as Trustee's counsel in connection with all matters related

Case No. 19-51349 MEH
Chapter 7
Hon. M. Elaine Hammond

APPLICATION FOR AUTHORITY TO
EMPLOY COUNSEL
(Rincon Law LLP)

[No Hearing Requested]

to the above-referenced Chapter 7 proceeding, including, but not limited to:

a) Assist and advise the Trustee in legal aspects involved in the investigation,

collection and liquidation of potential assets of the estate;

b) Assist and advise the Trustee regarding any transfers which may be avoidable

under the provisions of the Bankruptcy Code;

c) Represent the Trustee in litigation she determines to be necessary;

 
oOo SI HDR A S&F WY WH

oO

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

d) After Applicant's review and request, assist the Trustee in the objection to
claims; and
e) Attend Court hearings related to the foregoing.

3. Applicant desires to retain Proposed Counsel on the basis of its expertise in
bankruptcy law and believes that retention of counsel is necessary and would be in the best interests
of the estate.

4. Rincon Law is a small firm organized in San Francisco. To the best of Applicant's
knowledge, Proposed Counsel has no connection with the Debtor, creditors, or any other party in
interest, their respective attorneys and/or accountants, the United States Trustee or any person
employed in the Office of the United States Trustee, except as set forth in the declaration in support
of this application filed concurrently ("Declaration"). Proposed Counsel does not presently represent
any interest adverse to the Trustee or to the estate, except as set forth in the Declaration. Proposed
Counsel is a disinterested person.

5. Proposed Counsel generally charges on an hourly rate basis. The current rates
charged by members of Proposed Counsel that are expected to render the majority of the services to
Applicant are between $525 to $550 an hour. Mr. Kleiner's current rate is $525 per hour. Proposed
Counsel's rates are subject to change from time to time, but generally not more than once per year.

6. As a general rule, Proposed Counsel's billing practices are identical for bankruptcy
and non-bankruptcy clients. The hourly rates on which Proposed Counsel bases its fees are generally
the same for bankruptcy and non-bankruptcy clients but can be higher for non-court-appointed
representations.

7. Proposed Counsel is in compliance with the Bankruptcy Court's Guidelines for
Compensation and Expense Reimbursement of Professionals and Trustees. It does not charge for its
word processing and incoming telecopy costs. Additionally, Proposed Counsel's San Francisco
office charges $0.20 per page for photocopying; other clients of Proposed Counsel are charged
varying rates for reimbursement of that expense. In some instances, Proposed Counsel assesses a
charge on some out-of-pocket costs to reimburse it for administrative overhead expense; Proposed

Counsel does not include such charges in bankruptcy fee applications.

 
SD A FSF WY LO

oo

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

8. This employment application constitutes the entire agreement between the Trustee
and Rincon Law as to the terms of employment. There is no separate written or oral employment
agreement. Rincon Law acknowledges and agrees that no compensation shall be allowed or paid to
it except pursuant to further Court order.

WHEREFORE, Applicant prays for an Order authorizing the employment of Rincon Law

LLP as Trustee's counsel.

a
DATED: October Gq , 2019 .

By:

 

KARI BOWYER,
Trustee in Bankruptcy

DATED: October 8, 2019 RINCON LAW LLP

By: /s/ Gregg S. Kleiner
GREGG S. KLEINER
Proposed Counsel for KARI BOWYER,
Trustee in Bankruptcy

 
